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PS 42
(Rev. 3/14)

United States District Court
DISTRICT OF MARYLAND

United States of America

¥S.

Andre Hunt Case No. 13-CR-00628-ELH

 

 

US. Pretrial Services Pretrial Services respectfully requests authorization to immediately close interest
in this matter due to the defendant’s death.

bun Catch: 5/19/2015

Signature of U.S. Pretrial Services Officer Date

 

 

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Signature of Supervisory U.S. Pretrial Services Officer Date

O_ The above modification of conditions of release is ordered, to be effective on

O The above modification of conditions of release is wot ordered.

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Signature of Judicial Officer Date
